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                                                             4   Entered on Docket
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                                                                September 26, 2022
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                                                            16        Attorneys for Tecumseh–Infinity Medical
                                                                      Receivable Fund, LP
                                                            17

                                                            18                                 UNITED STATES BANKRUPTCY COURT
                                                            19                                          DISTRICT OF NEVADA
                                                            20
                                                                 In re:
                                                            21                                                         Case No.: 21-14486-abl
                                                                 INFINITY CAPITAL MANAGEMENT, INC.                     Chapter 7
                                                            22
                                                                                     Debtor.                           Adversary Case No. 21-01167-abl
                                                            23

                                                            24                                                            ORDER GRANTING TECUMSEH–
                                                                 HASELECT-MEDICAL RECEIVABLES                            INFINITY MEDICAL RECEIVABLE
                                                            25   LITIGATION FINANCE FUND                                   FUND, LP’S MOTION TO FILE
                                                                 INTERNATIONAL SP,                                          DOCUMENTS UNDER SEAL
                                                            26
                                                                                     Plaintiff,
                                                            27
                                                                 v.
                                                            28
                                                                      Case 21-01167-abl    Doc 116     Entered 09/26/22 13:32:43    Page 2 of 3




                                                                 TECUMSEH-INFINITY MEDICAL
                                                             1
                                                                 RECEIVABLES FUND, LP,
                                                             2
                                                                                  Defendant.                       HEARING DATE:
                                                             3                                                     HEARING TIME:

                                                             4   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                             5
                                                                                  Counter-Claimant,
                                                             6
                                                                 v.
                                                             7

                                                             8   HASELECT-MEDICAL RECEIVABLES
                                                                 LITIGATION FINANCE FUND
                                                             9   INTERNATIONAL SP,

                                                            10                    Counter-Defendant.
                                                            11
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                                                                 HASELECT-MEDICAL RECEIVABLES
                                                            12
                                                                 LITIGATION FINANCE FUND
                      LAS VEGAS, NEVADA 89134




                                                            13   INTERNATIONAL SP,
AKERMAN LLP




                                                            14                    Counter-Claimant

                                                            15   v.
                                                            16   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            17
                                                                                  Counter-Defendant.
                                                            18

                                                            19          The Court having considered Tecumseh–Infinity Medical Receivable Fund LP’s
                                                            20   …
                                                            21   …
                                                            22   …
                                                            23   …
                                                            24   …
                                                            25   …
                                                            26

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                                                             1   (“Tecumseh”) Motion to File Documents Under Seal1 [Adv. ECF 95] (the Motion), and for good

                                                             2   cause appearing:

                                                             3   IT IS HEREBY ORDERED:

                                                             4              1.       The Motion, and all of the relief sought therein, is granted in full.

                                                             5              2.       Tecumseh shall file the Binders, which have been identified as Exhibit I to the MPSJ,

                                                             6   under seal.

                                                             7   PREPARED AND SUBMITTED:

                                                             8
                                                                 GARMAN TURNER GORDON LLP
                                                             9   By: /s/ Jared M. Sechrist
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                                                            12
                                                                 and
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                                                            13
AKERMAN LLP




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                                                                 Receivables Fund, L.P.
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                                                                     All capitalized terms take on the meaning ascribed to them in the Motion, unless otherwise defined herein.
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